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				IN RE RULES CREATING AND CONTROLLING THE OKLAHOMA BAR ASSOCIATION2017 OK 94Case Number: 4483Decided: 12/04/2017As Corrected: December 6, 2017THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2017 OK 94, __ P.3d __

				

NOTICE: THIS OPINION HAS NOT BEEN RELEASED FOR PUBLICATION. UNTIL RELEASED, IT IS SUBJECT TO REVISION OR WITHDRAWAL. 




In Re: Rules Creating and Controling the Oklahoma Bar Association


ORDER
This matter comes on before this Court upon an Application to Amend Art. II Section 2 of the Rules Creating and Controlling the Oklahoma Bar Association, 5 O.S. ch. 1, app. 1, Creating a New Member Category and Suspending Further Application for Senior Member Category. This Court finds that it has jurisdiction over this matter and the Rules are hereby amended as set out in Exhibit A attached hereto effective January 1, 2018.
DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE this 4th day of December, 2017.

/SCHIEF JUSTICE

ALL JUSTICES CONCUR.
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Exhibit A
ARTICLE IISection 2&nbsp; Members Classified
Members of the Association shall be divided into three four classes, namely, (a) active membersActive Member, (b) senior members Senior Member,&nbsp;(c) associate members Associate Member and (d) Retired Member. No other categories of membership may be allowed. The annual dues shall be paid according to Art. VIII, § 1. Tweedy v. Oklahoma Bar Assoc., 624 P.2d 1049, 1052 (Okla. 1981); R.J. Edwards, Inc. v. Hert, 504 P.2d 407, 415 (Okla. 1972); In re Integration of State Bar, 185 Okla. 505, 95 P.2d 113 (1939).
(a) Active Members. Active members Members shall be all members not enrolled as senior members Senior Members, Retired, or associated members Associate Members.
(b) SENIOR MEMBERS Senior Member. An active member Active Member in good standing who is was seventy (70) years of age as of the first day of January of the then current year 2018, may become a senior member and previously became a Senior Member by filing with the Executive Director his or her statement, setting forth the month, day and year of his birth and requesting senior membership Senior Member classification. Thereafter, he or she shall be entitled to all the privileges and advantages of an Active Member active membership in the Association without payment of further dues, with the exception that he or she shall not receive the Bar Journal free of charge. If a senior member Senior Member desires to receive the Bar Journal, the senior he or she shall pay for an annual subscription, the cost of which shall be based upon production and mailing costs. No additional members shall be added to this classification after January 1, 2018. After January 1, 2018, all members who are seventy (70) years of age or older, who are actively engaged in the practice of law, and who are not Senior Members, Associate Members or Retired Members shall pay dues in the amount specified for those in practice for more than three (3) years. 
(c) Associate Member. A member in good standing who files, or on whose behalf there is filed, with the Executive Director, a statement that, by reason of illness, infirmity, or other disability, he or she is unable to engage in the practice of law shall become an associate member Associate Member of the Association for the duration of such illness, infirmity or other disability and until he is restored to his the former classification. An associate member Associate Member shall not engage in the practice of law or be required to pay dues during such period. He or she may, on annual request, receive the Bar Journal during his or her disability. The member, on causing an appropriate showing thereof to be made to the Executive Director, shall be reclassified to be an Active Member the membership held prior to such illness, infirmity or other disability and shall be required to pay the dues applicable thereto beginning January 2nd next following such reclassification and to pay the cost of the Bar Journal during such disability if he or she has elected to receive it.
(d) Retired Member. An Active Member in good standing who reaches age seventy (70) on, or after January 2nd, 2018 and is no longer engaged in the practice of law may notify the Executive Director, in writing, that he or she wishes to be designated as a "Retired Member." Such request shall include a statement that the member is not engaged in the practice of law in any jurisdiction. Members who request Retired Member classification shall be relieved from paying dues and may purchase the Bar Journal and other member benefits that might be made available at a price equal to the cost to the Oklahoma Bar Association in providing the member benefit. An Active Member requesting Retired Member classification must have reached age seventy (70) prior to January 2nd of the year he or she is requesting to be reclassified to Retired Status and relieved from paying dues. Those members who were previously classified as Senior Members prior to the adoption of this subsection may change their classification to Retired Member if a request in writing is submitted to the Executive Director with a request for the reclassification and a statement that the requesting member is no longer engaged in the practice of law. 
(d) (e) Reclassification to Active Membership -- Showing Competence. Whenever a member seeks restoration to active membership Active Member classification after the lapse of two (2) years or less, he or she may be reinstated as provided in Rule 11.8 of the Rules Governing Disciplinary Proceedings. After the lapse of more that than two (2) years, an associated member Associate Member may be restored to active membership Active Member classification upon compliance with Rule 11.1 through Rule 11.7 of the Rules Governing Disciplinary Proceedings.
(e) (f) Voting Members Defined. Active and senior members Senior Members shall constitute the voting members of the Association. Associate and Retired Members shall not be Voting Members. 
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